                                Case:21-00150-jwb                Doc #:1 Filed: 01/21/2021                    Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                EETKO Builders, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA EETKO Builder
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3403 Veterans Drive
                                  Traverse City, MI 49684
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Grand Traverse                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                  Case:21-00150-jwb                  Doc #:1 Filed: 01/21/2021                        Page 2 of 13
Debtor    EETKO Builders, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                 Managing
     attach a separate list                       Debtor     Shaun Gober                                                     Relationship            Member
                                                             Western District of
                                                  District   Michigan                      When                              Case number, if known

Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                         Case:21-00150-jwb         Doc #:1 Filed: 01/21/2021                  Page 3 of 13
Debtor   EETKO Builders, LLC                                                    Case number (if known)
         Name




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                  page 3
                                Case:21-00150-jwb                  Doc #:1 Filed: 01/21/2021                      Page 4 of 13
Debtor   EETKO Builders, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.

                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    EETKO Builders, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 21, 2021
                                                  MM / DD / YYYY


                             X   /s/ Shaun Gober                                                          Shaun Gober
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Paul Bare                                                             Date January 21, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Bare P26843
                                 Printed name

                                 Bare & Clough, P.C.
                                 Firm name

                                 3281 Racquet Club Drive
                                 Suite C
                                 Traverse City, MI 49684
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     231-946-4901                  Email address      lawofficecourtdocs@gmail.com

                                 P26843 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         EETKO Builders, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 21, 2021                        X /s/ Shaun Gober
                                                                       Signature of individual signing on behalf of debtor

                                                                       Shaun Gober
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
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                                                               United States Bankruptcy Court
                                                                     Western District of Michigan
 In re      EETKO Builders, LLC                                                                       Case No.
                                                                                   Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       January 21, 2021                                           /s/ Shaun Gober
                                                                        Shaun Gober/Managing Member
                                                                        Signer/Title




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
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              13TH CIRCUIT COURT
              328 WASHINGTON ST
              SUITE 300
              TRAVERSE CITY MI 49684


              13TH CIRCUIT COURT
              328 WASHINGTON ST
              SUITE 300
              2019-03185
              TRAVERSE CITY MI 49684


              13TH CIRCUIT COURT
              328 WASHINGTON ST
              SUITE 300
              19-35056
              TRAVERSE CITY MI 49684


              4 FRONT CREDIT UNION
              PO BOX 795
              TRAVERSE CITY MI 49685


              86TH DISTRICT COURT
              280 WASHINGTON STREET
              SUITE 114C
              20-1842 GC1
              TRAVERSE CITY MI 49684


              86TH DISTRICT COURT
              280 WASHINGTON STREET
              SUITE 114C
              20-1667-SC1
              TRAVERSE CITY MI 49684


              86TH DISTRICT COURT
              280 WASHINGTON STREET
              SUITE 114C
              20-1344 SC 1
              TRAVERSE CITY MI 49684


              ACUITY
              RONALD B RICH & ASSOC
              30665 NORTHWESTERN HWY STE 280
              FARMINGTON MI 48334
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          ADR HEATING & COOLING, LLC
          9627 E CARTER RD
          RICHARD ANSORGE
          TRAVERSE CITY MI 49684


          BUILDERS FIRSTSOURCE INC
          SMITH & JOHNSON ATTORNEYS PC
          PO BOX 705
          TRAVERSE CITY MI 49685


          CAPITAL ONE
          BANKRUPTCY DEPARTMENT
          PO BOX 30281
          SALT LAKE CITY UT 84130-0281


          CHASE INK
          PO BOX 6294
          CAROL STREAM IL 60197


          EBF PARTNERS LLC
          EVEREST BUSINESS FUNDING
          C/O MANCINELLI GOEMAN LAW GRP
          10500 CHICAGO DRIVE ST 75
          ZEELAND MI 49464


          EVEREST BUSINESS FUNDING
          8200 NW 52ND TER.
          2ND FLOOR
          MIAMI FL 33166


          GERALD F. CHEFALO
          502 RAILROAD AVE
          PO BOX 5263
          TRAVERSE CITY MI 49696


          GSCL LLC
          WILLIAM BURDETTE
          13709 SW BAYSHORE
          TRAVERSE CITY MI 49684


          HOME DEPOT CREDIT SERVICES
          PO BOX 790328
          SAINT LOUIS MO 63179
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          JAMES AND HEATHER CADE
          11555 N 9 RD
          BUCKLEY MI 49620


          KABBAGE BUSINESS LOANS
          PO BOX 77081
          SUITE 1688
          ATLANTA GA 30357


          KINGSLEY LUMBER & HARDWARE,LLC
          BISHOP & HEINZ, PC
          PO BOX 707
          TRAVERSE CITY MI 49685


          KUBOTA CREDIT CORPORATION
          PO BOX 2429
          SUWANEE GA 30024-0980


          LEELANAU REDI MIX
          C/O GROGAN LAW PC
          3240 RACQUET CLUB DRIVE
          TRAVERSE CITY MI 49684


          MAD ENTERTAINMENT, LLC
          BRAD J VANNATTER
          514 E FRONT STREET
          TRAVERSE CITY MI 49686


          MANCINELLI GOEMAN LAW GROUP
          10500 CHICAGO DRIVE STE 75
          ZEELAND MI 49464


          MARVIN AND ROSE ANN SLEE
          PO BOX 726
          KINGSLEY MI 49649


          MATTHEW MCCORMICK
          361 FARM LANE
          TRAVERSE CITY MI 49696


          MICHAEL C NAUGHTON
          NORTH COAST LEGAL
          800 COTTAGEVIEW DRIVE
          STE 1080 A
          TRAVERSE CITY MI 49684
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          MITCHELL CONCRETE
          CRAIG ELHART
          329 SOUTH UNION ST
          TRAVERSE CITY MI 49684


          NORTH COUNTRY B&T
          130 S CEDAR ST
          MANISTIQUE MI 49854


          O'LEARY PAINT
          300 E OAKLAND AVE
          LANSING MI 48906


          PHH MORTGAGE ICE CENTER
          1 MORTGAGE WAY
          SV09
          MOUNT LAUREL NJ 08054


          PRO IMAGE DESIGN, INC
          331 SOUTH AIRPORT RD
          TRAVERSE CITY MI 49686


          ROD AND BARBARA BOGART
          621 FENTON RD
          KINGSLEY MI 49649


          SHAUN GOBER
          2122 SOLACE DRIVE
          TRAVERSE CITY MI 49696


          SHOEMAKER INC
          HEATING & COOLING SUPPLY
          507 CHICAGO DRIVE
          HOLLAND MI 49423


          SIMMER LAND SURVEYING LLC
          PO BOX 81
          MESICK MI 49668


          THE BUSINESS BACKER
          10856 REED HARTMAN HWY
          STE 100
          CINCINNATI OH 45242
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          TODD WILCOX
          896 REYNOLDS RD
          INTERLOCHEN MI 49643


          WILLIAM G. BURDETTE, PC
          13709 SW BAYSHORE DRIVE
          TRAVERSE CITY MI 49684
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                                        UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF MICHIGAN

 In re:                                                              Case No.

                         EETKO Builders, LLC                         Chapter 7

                               Debtor(s).
                                                               /

                                               ASSET PROTECTION REPORT

          Pursuant to Local Bankruptcy Rule 1007-2(d), debtors filing a Chapter 7 petition and debtors in a
          case converting to Chapter 7 must file an Asset Protection Report. List below any property
          referenced on Schedule D (Creditors Holding Secured Claims); or Schedule G (Executory
          Contracts and Unexpired Leases); and any insurable asset in which there is nonexempt
          equity. For each asset listed, provide the following information regarding property damage or
          casualty insurance:

                                                                                                             WILL DEBTOR
                                                                                           POLICY
                                             IS ASSET    NAME & ADDRESS OF                                      RENEW
          INSURABLE ASSET                                                               EXPIRATION
                                            INSURED?          AGENT OR                                      INSURANCE ON
            (from schedules)                                                                DATE
                                              (Yes/No)     INSURANCE CO.                                     EXPIRATION?
                                                                                         (MM/YYYY)
                                                                                                               (Yes/No)
-NONE-

          If the debtor is self-employed, does the debtor have general liability insurance for business activities?
          Yes      No

          I declare, under penalty of perjury, that the above information is true and accurate to the best of my
          knowledge. I intend to provide insurance protection for any exemptible interests in real or personal
          property of the estate, and I request that the trustee not expend estate funds to procure insurance
          coverage for my exemptible assets.




Dated: January 15, 2021                                            /s/ Shaun Gober
                                                                                            Managing Member /Shaun Gober
                                                                                                                      Debtor


          Pursuant to LBR 1007-2(f), debtor is required to provide the trustee with a copy of the Declarations Page
          for any insurance policy covering an insurable asset at least 7 days before the date first set for the
          meeting of creditors.
